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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


 BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN
   SCOTT KELLEY; KELLEY ORTHODONTICS; ASHLEY
   MAXWELL; ZACH MAXWELL; JOEL STARNES,

            Plaintiff-Appellees/Cross-Appellants,

                           v.

 XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF
   HEALTH AND HUMAN SERVICES, in his official
                                                               No. 23-10326
   capacity as Secretary of Health and Human
   Services; UNITED STATES OF AMERICA; JANET
   YELLEN, SECRETARY, U.S. DEPARTMENT OF
   TREASURY, in her official capacity as Secretary of
   the Treasury; JULIE A. SU, ACTING SECRETARY,
   U.S. DEPARTMENT OF LABOR, in her official
   capacity as Secretary of Labor,

             Defendants-Appellants/Cross-
               Appellees.


RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM
 REGARDING THE GOVERNMENT’S MOTION FOR A PARTIAL
               STAY PENDING APPEAL

      Plaintiffs’ supplemental brief underscores why this Court should

continue the administrative stay and enter a partial stay of the final

judgment pending appeal.

      1. First, plaintiffs’ supplemental filing shows that the district court’s

universal remedies took “the judicial power beyond its traditionally
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understood uses." Arizona v. Biden, 40 F.4th 375, 396 (6th Cir. 2022)

(Sutton, C.J., concurring). Although this case is not a class action, the

district court extended relief to every insurer, employer, and group health

plan that is subject to the statutory coverage requirement at issue here.

Now, Braidwood purports to bind all such insurers, employers, and plans to

a major concession regarding their potential liability. Braidwood

volunteers that if it reduces coverage in reliance on the district court’s

judgment, it will accrue liability for tax penalties under 26 U.S.C. § 4980D

that the government may collect—retrospectively—if the government

prevails after exhausting appellate review.1 And Braidwood makes that

concession not merely on its own behalf—as it is free to do for tactical

reasons or otherwise—but on behalf of every insurer, employer, and plan.

Having made that universal concession, Braidwood then argues that “[n]o

rational insurer or employer would violate 42 U.S.C. § 300gg-13(a)(1)”

pending appellate review because this Court or the Supreme Court “might




      1 Plaintiffs’ supplemental brief refers to tax penalties in 26 U.S.C.
§ 4980H, but the tax penalties for failing to comply with the statute’s
preventive-services coverage requirements are in 26 U.S.C. § 4980D. See
Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 697 (2014). There are
also relevant penalties in 42 U.S.C. § 300gg-22. The tax in 26 U.S.C.
§ 4980H is not at issue here. Cf. Hotze v. Burwell, 784 F.3d 984, 996-99
(5th Cir. 2015) (holding that Braidwood’s challenge to 26 U.S.C. § 4980H
was barred by the Anti-Injunction Act).
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disagree with the district court’s interpretation of the Appointments Clause

or its analysis of the remedial issues, which will expose insurers and

employers to years of accumulated statutory penalties if they violated 42

U.S.C. § 300gg-13(a)(1) in reliance on the district court’s judgment.” Pls.

Supp. Mem. 3.

      However, Braidwood has no authority to make a binding concession

on behalf of nonparty insurers, employers, or plans. When the same issue

arose in the contraceptive-coverage litigation, the plaintiffs took the

position opposite to the concession that Braidwood makes here. See

Autocam Corp. v. Sebelius, No. 12-cv-01096, Dkt. 40 at 2 (W.D. Mich.

Dec. 21, 2012) (arguing that a district court injunction would spare the

plaintiffs “tens of thousands of dollars in fines—even if the injunction is

ultimately vacated”).2

      As Chief Judge Sutton has explained: “The law already has a

mechanism for applying a judgment to third parties.” Arizona, 40 F.4th at



      2 The government’s parallel filing in Autocam (Dkt. 41) argued that a
preliminary injunction should be denied for merits reasons and indicated
that, under the particular circumstances of that case, a preliminary
injunction would likely mitigate but not eliminate the tax liability that the
plaintiffs would accrue if the government prevailed on the merits of their
RFRA claims. The district court denied a preliminary injunction and the
court of appeals affirmed, but the Supreme Court remanded for further
consideration in light of Hobby Lobby. On remand, the parties agreed that
the plaintiffs were entitled to a targeted permanent injunction (Dkt. 76).
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396. “That is the role of class actions, and Civil Rule 23 carefully lays out

the procedures for permitting a district court to bind nonparties to an

action.” Id. Braidwood cannot act as an unauthorized class representative.

The district court should not have granted relief to nonparty insurers,

employers, or plans; nor should it have extinguished the rights of

150 million Americans who are not parties to this suit. And Braidwood

cannot relinquish—on behalf of nonparty insurers, employers, or plans—an

objection to tax liability that they might later wish to assert.

      2. Second, plaintiffs’ supplemental brief shows that the plaintiffs

themselves have no reason for opposing the requested partial stay of the

final judgment pending appeal. Braidwood’s president represents in his

sworn declaration that Braidwood will not reduce coverage in its self-

insured plan unless it ultimately prevails on the merits after all appellate

review is exhausted. See Pls. Supp. Mem, Exh. 1 ¶¶ 7-11 (Hotze

declaration); see also Pls. Supp. Mem. 3 (representing to this Court that

“[e]ven Braidwood, which is a party to this case, is unwilling to change its

preventive-care coverage until the conclusion of appeals—even though

Braidwood will remain protected by the judgment under the partial stay

that the government is proposing.”). And if plaintiffs’ concession regarding

the accrual of penalties is correct, no insurer will risk selling the individual


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plaintiffs their wished-for plans while the district court’s judgment remains

under review (even assuming arguendo that a Texas insurer would

otherwise be willing to do so, which the record does not demonstrate). In

short, all plaintiffs have conceded that the requested partial stay of the final

judgment will cause them no harm whatsoever.

      Accordingly, this Court should enter the requested partial stay of the

final judgment pending appeal to preserve the status quo of 13 years and to

protect the rights of 150 million Americans who are not parties to this case.

We ask that this Court do so as soon as possible to dispel any uncertainty

regarding insurance coverage that could discourage people from obtaining

the wide array of life-saving preventive services at issue here.




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                             Respectfully submitted,

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MAY 2023




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                       CERTIFICATE OF SERVICE

     I hereby certify that on May 31, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users and service

will be accomplished by the appellate CM/ECF system.

                                          /s/ Alisa B. Klein
                                         Alisa B. Klein


                 CERTIFICATION OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I hereby certify this response

complies with the requirements of Fed. R. App. P. 27(d)(1)(E) because it

has been prepared in 14-point Georgia, a proportionally spaced font, and

that it contains 906 words, according to the count of Microsoft Word.



                                          /s/ Alisa B. Klein
                                         Alisa B. Klein
